                                              Case 3:22-cv-03113-EMC Document 38 Filed 07/25/22 Page 1 of 2




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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7         MECHEL BARRON,                                  Case No. 22-cv-03113-EMC
                                   8                      Plaintiff,
                                                                                             ORDER TO SHOW CAUSE
                                   9               v.

                                  10         CITY OF SAUSALITO, et al.,
                                  11                      Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14             Previously, the Court held a hearing on Ms. Barron’s motion for a preliminary injunction.

                                  15   At that hearing (held on July 22, 2022), Ms. Barron stated that she had left the temporary hotel

                                  16   (this housing was provided by the City) and had obtained new, more permanent housing. Given

                                  17   that situation, the Court denied the motion for a preliminary injunction as moot.

                                  18             Because Ms. Barron’s primary goal seems to have been to secure housing and she has now

                                  19   obtained new, more permanent housing, it is not clear whether she intends to pursue this case

                                  20   further and on what grounds. Accordingly, the Court hereby orders Ms. Barron to show cause as

                                  21   to why this case should continue and, if so, what federal claims she still has such that this Court

                                  22   would have federal jurisdiction over the case. Ms. Barron should also make clear the specific

                                  23   factual basis for her claims (e.g., a conclusory allegations are not sufficient) and what relief she

                                  24   seeks.

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                                          Case 3:22-cv-03113-EMC Document 38 Filed 07/25/22 Page 2 of 2




                                   1          Ms. Barron shall have until August 15, 2022 to respond to this order to show cause. If Ms.

                                   2   Barron does not file a timely response, then the Court shall dismiss her case without prejudice for

                                   3   failure to prosecute.

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                                   5          IT IS SO ORDERED.

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                                   7   Dated: July 25, 2022

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                                   9                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  10                                                    United States District Judge
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                                  12
Northern District of California
 United States District Court




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